                         UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

 In the Matter of:                                    }
 MARVIN REX RANKIN, III1                              }    CASE NO. 20-80495-CRJ-11
 SSN: XXX-XX-3901                                     }
 MARY BETH LEMMOND RANKIN                             }    CHAPTER 11
 SSN: XXX-XX-7950                                     }
                                                      }    (JOINTLY ADMINISTERED)
         Debtors.                                     }


     ORDER EXTENDING DEADLINE TO FILE DISCLOSURE STATEMENT AND PLAN
                          OF REORGANIZATIOIN

         Before the Court is the Debtors’ Motion to Continue Deadline for Debtors to File
 Disclosure Statement and Plan of Reorganization, requesting a sixty-day extension of the current
 July 15, 2020 deadline. For cause shown, it is hereby
         ORDERED, ADJUDGED AND DECREED as follows:
         1. The Debtors’ Motion to Continue Deadline for Debtors to File Disclosure Statement
             and Plan of Reorganization is APPROVED.
         2. The deadline for each Debtor to file a Disclosure Statement and Chapter 11 Plan of
             Reorganization is hereby extended to September 15, 2020 by 5:00 p.m., CDT.



 Dated this the 7th day of July, 2020.

                                                           /s/ Clifton R. Jessup, Jr.
                                                           Clifton R. Jessup, Jr.
                                                           United States Bankruptcy Judge




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  In addition to Marvin Rex Rankin III and Mary Beth Lemmond Rankin, the Debtors include the following: RWS
 Charter, LLC, Case No. 20-80470-CRJ-11 and Bayport Corporation, Ltd., Case No. 20-80471-CRJ-11.




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